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Why Idaho’s Primary Election Matters to You

lf you want your vote to
count, be sure to cast it in the
primary election on May 25.

Many people don’t vote in
the primary, and some
don’t even vote in the gen-
eral election in the fall. But
if you want things to im-
prove for public employ-
ees, you simply must get
involved in the process.

Here’s why: Idaho’s gov-
ernment is dominated by
one party, and that means
we have a legislature and
administration where peo-
ple simply don’t play well
with others. They do not
compromise simply be-
cause they don't have to.
Now, you may agree with
the majority of that party’s
platform, but when one
party runs everything in
state government, mean-
ingful political discourse
simply shuts down. The

party’s leadership puts the

screws to the rest of the
legislators in their party to
get them to vote “the party
line’, and few of them have
the fortitude to go up
against them. You can
read about how _ this
worked in the 2010 ses-
sion in the legislative wrap-
up article on page 5.

Voting in the primary is the
best way to influence a
party’s platform, and it is a
great way to bring about
change. Idaho primaries
are open primaries. That
means you don’t have to
register as a member of a
party. You do have to vote
a straight party ticket, how-
ever.

So here’s the strategy:
Study the positions of the
primary candidates for
your District. Then ask for
the ballot for whichever
party has a contested pri-
mary when you vote on

May 25. Vote for the person
you think would be best of
the primary contenders in
that party just in case that
person is elected in the fall.

Remember, in the fall you
can cross party lines on your
ballet, and you do not need
to vote for the same candi-
date you voted for in the pri-
mary.

Here’s a possible scenario:
You're leaning toward the
Democrat in the general
election, but the Democrats
don’t have a contested pri-
mary in your District. So you
vote for the Republican pri-
mary candidate that most
closely represents your
views and that person wins
the primary and is now on
the ballot in the general.

But then in the fall you real-
ize that the Democrat still
looks better to you, so you
vote for the Democrat. If

your guy or girl wins,

Co}

S YOUVE NO.

then hurray for you. But
if the Republican wins,
you will have a Republi-
can representative or
Senator that more
closely represents your
positions. And you have
influenced the party plat-
form in the process.

IPEA can help you find
out where primary candi-
dates stand on IPEA
issues. We sent out a
{questionnaire to all of
them, and you can see
their responses on our
website. Don’t forget!
Vote on May 25th!

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